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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                :
UNITED STATES OF AMERICA,                       :       CASE NO. 5:02-CR-00255-16
                                                :
                Plaintiff,                      :
                                                :
vs.                                             :       The Honorable James S. Gwin
                                                :       [Resolving Doc. No. 809]
JARVIS DUNCAN                                   :
                                                :
                Defendant.                      :
                                                :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        For the reasons described below, the supervised release violation against the defendant as set forth

in the June 1, 2005 violation report is DISMISSED.

        On June 10, 2005, this Court issued a warrant for Defendant Duncan's arrest pursuant to a June

1, 2005 supervised release violation report from Probation Officer Larry J. Grimes. On August 9, 2005,

the defendant appeared before Magistrate Judge James S. Gallas. Probation Officer Crimes advised the

court that the law violation stemming from the defendant's May 17, 2005 arrest had been dismissed.

Probation Officer Grimes, joined by Assistant U.S. Attorney Bulford and Assistant Public Defender Terez,

therefore moved that the supervised release violation be dismissed.

        Both the Assistant U.S. Attorney and the Assistant Public Defender found the probation officer's

recommendation for a $5000 unsecured appearance bond acceptable. The defendant was released on

$5000 unsecured bond pending final disposition of the June 1, 2005, supervised release violation report.


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        On August 10, 2005, Magistrate Judge Gallas issued a Report and Recommendation

recommending that the defendant's supervised release violation be dismissed. No party filed an objection.

Therefore, this Court hereby adopts the Magistrate's Report and Recommendation and GRANTS the

motion to dismiss.

        IT IS SO ORDERED.




Dated: October 4, 2005                                  s/       James S. Gwin
                                                        JAMES S. GWIN
                                                        UNITED STATES DISTRICT JUDGE




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